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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION

    THE STATE OF LOUISIANA,
    By and through its Attorney General, JEFF
    LANDRY; et al.,
                                       PLAINTIFFS,

    v.

    JOSEPH R. BIDEN, JR., in his official capacity
    as President of the United States; et al.,            CIVIL ACTION NO. 2:21-cv-778-TAD-KK
                                       DEFENDANTS.


                                         [Proposed] ORDER

          For the reasons set forth in the Memorandum Ruling,

          IT IS ORDERED that the Plaintiff States’ Motion for Summary Judgment is GRANTED.

          IT IS THEREFORE ORDERED that the Pause of offshore and onshore oil and gas

   leasing described in the Memorandum Ruling is VACATED.

          IT IS FURTHER ORDERED that Section 208 of Executive Order 14008 is DECLARED

   UNLAWFUL.

          IT IS FURTHER ORDERED that Defendants (excepting the President) are

   PERMANENTLY ENJOINED and RESTRAINED from implementing the Pause, Section 208

   of Executive Order 14008, or any similar pause or delay of oil and gas leasing framework set out in

   OCSLA and the MLA.

          IT IS FURTHER ORDERED that Defendants (excepting the President) are

   PERMANENTLY ENJOINED and RESTRAINED from withholding or delaying oil and gas

   lease sales under OCSLA and the MLA.
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         MONROE, LOUISIANA, this __ day of _______, 20__.


                                        _____________________
                                        TERRY A. DOUGHTY
                                        UNITED STATES DISTRICT JUDGE




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